                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


PERNAIL MCDOUGLE,

       Plaintiff,

       v.                                                    Case No. 21-CV-1447

TERINA CUNNINGHAM, et al.,

       Defendants.


                          DEFENDANTS’ BRIEF IN SUPPORT OF
                          MOTION FOR SUMMARY JUDGMENT


                                       INTRODUCTION

       During the early morning hours of July 29, 2021, Pernail McDougle, (“Mr. McDougle”)

was wanted for a homicide. (PFOF ¶ 7). At approximately 7:56 a.m., the Milwaukee Police

Department (“MPD”) notified the Milwaukee County Sheriff’s Office (“MCSO”) that Mr.

McDougle was in the area of the Milwaukee County Jail (the “Jail”), that he was wanted for a

homicide committed that morning, and that he had reportedly threatened to “kill until he is caught.”

(PFOF ¶ 7). MCSO Lieutenant Brandy Lester (“Lt. Lester”) received MPD’s communications

regarding Mr. McDougle and sent a series of emails to MCSO command staff and supervisors

working in the Milwaukee County Courthouse and the Jail to warn them of his threat of violence

against law enforcement. (PFOF ¶¶ 7-12).

       On July 31, 2021, Mr. McDougle arrived at the Jail, charged with First-Degree Intentional

Homicide, Burglary of a Dwelling, and Aggravated Battery - Elderly Battery. (PFOF ¶ 13). After

spending his first several days on suicide watch, MCSO Lieutenant Cassandra Joshua (“Lt.

Joshua”) instructed the Jail’s Classification Unit to classify Mr. McDougle as an Administrative

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Segregation (“Ad-Seg”) occupant due to his threats of violence against law enforcement prior to

his arrest. (PFOF ¶ 19). Ad-Seg custody status, while it is a physical separation of the occupant

from general population occupants at the Jail, it is non-punitive and it is based upon the potential

safety risk that a Jail occupant presents to other occupants and Jail staff. (PFOF ¶¶ 23, 24, 25). Ad-

Seg status also does not require that an occupant’s carceral privileges be restricted more than if

he or she were classified as a general population occupant. (PFOF ¶ 22). And because Ad-Seg

status is reviewed every week by a Classification Captain at the Jail, there exist many opportunities

for the occupant to be re-classified upon a showing of a stable pattern of behavior by the occupant.

(PFOF ¶ 35).

       Mr. McDougle was classified as an Ad-Seg occupant from August 4, 2021 through

September 11, 2021, and then re-classified as a general population occupant after he showed a

pattern of stable and rule compliant behavior. (PFOF ¶¶ 17, 46, 47). Mr. McDougle believes that

his Ad-Seg classification violated his 14th Amendment right to due process because some Jail staff

told him he was placed on Ad-Seg status due to his criminal charges. (ECF No. 1 & 8; PFOF ¶¶

71, 75). However, those statements were made in error, and it is well established that Ad-Seg status

is not a mechanism used to punish Jail occupants. (PFOF ¶¶ 22, 72, 73, 75, 76,).

       Mr. McDougle was classified as an Ad-Seg occupant for the safety of Jail staff and other

occupants because of the threats reported by MPD prior to his arrival at the Jail. Once Mr.

McDougle could be trusted to reside at the Jail as a general population occupant he was re-

classified as such. (PFOF ¶ 19). Captain Cunningham reviewed Mr. McDougle’s Ad-Seg status

multiple times and kept him on Ad-Seg status until she was comfortable that he could display

consistent safe behavior. (PFOF ¶¶ 39, 40, 43, 44, 46). Lt. Emanuele, on the other hand, had no

involvement at all with Mr. McDougle’s classification as an Ad-Seg occupant. (PFOF ¶ 20).



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         Based on the undisputed material facts presented in Defendant’s Proposed Findings of Fact,

as a matter of law, summary judgment must be granted in favor of the defendants. Fed. R. Civ. P.

56(a).

             STATEMENT OF PROPOSED MATERIAL UNDISPUTED FACTS

         Defendants incorporate by reference as if set forth in full herein their Proposed Findings of

Fact with supporting Declarations filed contemporaneously herewith pursuant to Fed. R. Civ. P.

56(c)(1)(A) and Civil L.R. 56(b)(1)(C).

                              APPLICABLE LEGAL STANDARDS

         “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Celotex Corp.

v. Catrett, 477 U.S. 317, 324 (1986). In ruling on a motion for summary judgment, the court must

view the facts in the light most favorable to the nonmovant. Payne v. Pauley, 337 F.3d 767, 770

(7th Cir. 2003). “Material facts” are those under the applicable substantive law that “might affect

the outcome of the suit.” Anderson, 477 U.S. at 248. A dispute over a “material fact” is “genuine”

if “the evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id.

However, “the mere existence of some alleged factual dispute between parties will not defeat an

otherwise properly supported motion for summary judgment; the requirement is that there be no

genuine issue of material fact.” Liberty Lobby, 477 U.S. at 247-248 (emphasis in original).

         In moving for summary judgment against a party who will bear the ultimate burden of

proof at trial, the movant's burden of establishing that there is no genuine issue of material fact in

dispute is satisfied by pointing to an absence of evidence to support an essential element of the

non-moving party's claim. Celotex, 477 U.S. at 322–23. “A defendant need not prove a negative



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when it moves for summary judgment on an issue that the plaintiff must prove at trial,” but “need

only point to an absence of proof on plaintiff's part, and, at that point, plaintiff must ‘designate

specific facts showing that there is a genuine issue for trial.’” Parker v. Sony Pictures Entm’t, Inc.,

260 F.3d 100, 111 (2d Cir. 2001) (quoting Celotex, 477 U.S. at 324). To defeat summary judgment,

the non-moving party must come forward with evidence that would be sufficient to support a jury

verdict in her favor. Anderson, 477 U.S. at 249.

                                           ARGUMENT

       Mr. McDougle’s procedural due process claim fails as a matter of law. Mr. McDougle did

not suffer a deprivation of a liberty interest that implicated his Constitutional right to due process.

His confinement on Administrative Segregation, though physically separate from general

population housing units in the Jail, was not significantly challenging or difficult as he enjoyed

many of the same privileges he would have had in a general population housing assignment. Nor

does Mr. McDougle allege any conditions of confinement of Administrative Segregation that

caused him to suffer any type of atypical hardships at the Jail. In short, Mr. McDougle’s claim

does not implicate his Constitutional right to procedural due process as a pretrial occupant.

       Further, the undisputed facts establish that Jail administration classified Mr. McDougle as

an Administrative Segregation occupant because of a credible inter-agency law enforcement report

that threatened to kill a law enforcement officer prior to his arrest on July 29, 2021. Once he was

booked into the Jail and based upon the knowledge of Mr. McDougle’s prior threats, Lt. Joshua

(and later Captain Cunningham) took precautions to ensure the safety and security of Jail staff and

other occupants at the Jail by placing Mr. McDougle under closer scrutiny in Administrative

Segregation. Mr. McDougle was not classified as an Ad-Seg occupant as a punishment.




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           Mr. McDougle may argue that he doesn’t recall making any threats of violence toward law

enforcement, and both MPD and the MCSO claimed not to possess any such report of the threats.

But the facts are undisputed that MCSO Jail and Courthouse staff were on high alert on July 29,

2021 to be aware of Mr. McDougle because of the reported threats, and it is unequivocal that

emails were sent throughout MCSO administrative staff as a result of Mr. McDougle’s reported

threats. Mr. McDougle’s arrival at the Jail on July 31, 2021 necessitated further observation on

Administrative Segregation to ensure that he was a good risk to reside in a general population

setting.

           Mr. McDougle suffered no harm, too, as a result of his classification as an Ad-Seg

occupant. Though he alleges that he experiences anxiety as a result of his Ad-Seg status, there is

no evidence to substantiate any damages. “Where the record taken as a whole could not lead a

rational trier of fact to find for the non-moving party, there is no ‘genuine issue for trial.’” Sarver

v. Experian Info. Solutions, 390 F.3d 969, 970 (7th Cir. 2004) (citation omitted). Because such is

the case here summary judgment is warranted in favor of the Defendants. See Fed. R. Civ. P. 56.

           I.     Mr. McDougle did not suffer a due process deprivation.

           To prevail on his Fourteenth Amendment procedural due process claim, Mr. McDougle

must prove that he suffered (1) a deprivation of a protected liberty or property interest; and (2) the

absence of constitutionally adequate procedural safeguards in connection with the alleged

deprivation. Pro’s Sports Bar & Grill, Inc. v. City of Country Club Hills, 589 F.3d 865, 870 (7th

Cir. 2009). “Whether a prisoner has a liberty interest implicated by special confinement relies on

whether the confinement imposed an ‘atypical and significant hardship on the inmate in relation

to the ordinary incidents of prison life.’” Hardaway v. Meyerhoff, 734 F.3d 740, 743 (7th Cir.

2013), citing Sandin v. Conner, 515 U.S. 472, 484 (1995).



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       The Supreme Court in Sandin v. Conner, 515 U.S. 472 (1995) held that states may create

liberty interests in general population confinement only if the conditions of confinement in

segregation are significantly more restrictive. Sandin v. Conner, 515 U.S. 472, 485-86 (1995). In

making this determination, the Court determined that, (1) the occupant’s confinement (in that case)

in disciplinary segregation mirrored conditions of administrative segregation and other forms of

discretionary confinement; (2) based on a comparison between inmates inside and outside

segregation, the state’s action in placing him there for 30 days did not work a major disruption in

the occupant’s environment; and (3) the state’s action did not inevitably affect the duration of

occupant’s sentence. Id.

       When the Sandin factors are applied to Mr. McDougle’s claim, it becomes clear that there

is no evidence that Mr. McDougle’s Ad-Seg confinement at the Jail was demonstrably different

than his confinement in general population. There is no evidence to support an argument that the

conditions of Mr. McDougle’s Ad-Seg confinement were atypical or significantly more

challenging than his general population confinement or that he suffered any significant injuries or

damages as a result of his Ad-Seg confinement. (PFOF ¶¶ 27-31). In fact, Mr. McDougle’s general

population cells had the same accoutrements as his Ad-Seg housing units on Pods 4B and 4D.

(PFOF ¶¶ 28). Ad-Seg occupants, like general population occupants at the Jail, are permitted to

use the telephones located in 4D and 4B to call anyone they choose (unless restricted by a Court’s

order), they are permitted full mail and video visitation privileges, and they are permitted access

to hygiene items on the commissary list. (PFOF ¶31). By contrast, occupants on disciplinary

confinement status at the Jail are not permitted to access any commissary items, they aren’t

permitted telephone or video visits, and their time out of their cell is more restricted than occupants

classified as Ad-Seg. (PFOF ¶ 32). As a result, there is no evidence that Mr. McDougle’s



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administrative confinement served as a major disruption in his overall confinement at the Jail,

either. See Sandin, 515 U.S. at 485-86.

       Finally, Mr. McDougle does not allege that the length of Mr. McDougle’s eventual

sentence was affected by his time on Ad-Seg status, and there is no evidence to suggest such a

concept. Further, the period of time that Mr. McDougle spent in Administrative Segregation, 37

days, was reasonably short so as to determine whether he posed a risk to Jail staff or occupants in

general population given the reported threats of violence he made against law enforcement. See

Marion v. Columbia Correction Inst., 559 F.3d 693, 698 (7th Cir. 2009) (“[S]ix months of

segregation is not such an extreme term and, standing alone, would not trigger due process

rights.”), citing Whitford v. Boglino, 63 F.3d 527, 533 (7th Cir. 1995); see also Lekas v. Briley, 405

F.3d 602, 612 (7th Cir.2005) (up to 90 days in segregation “. . . still not so long as to work an

atypical and significant hardship.”).

       Because Mr. McDougle’s Ad-Seg confinement did not deprive him of a protected liberty

interest, the analysis does not progress to whether he was afforded constitutionally adequate

procedural safeguards in connection with the deprivation. Mr. McDougle did not experience a

deprivation via his classification as an Ad-Seg occupant, and no process was required.

       II.     Mr. McDougle was classified as an Ad-Seg occupant to ensure safety and
               security of Jail staff and occupants.

       Maintaining jail security is an appropriate justification for placing non-punitive restrictions

on pretrial detainees. Bell v. Wolfish, 441 U.S. 520, 540 (1979). Non-punitive administrative

segregation of a pretrial detainee does not violate the constitution, nor does it require the

government to first provide due process protections. Higgs v. Carver, 286 F.3d 437, 438 (7th Cir.

2002) (no due process is required if pretrial detainee is placed in segregation “not as punishment

but for managerial reasons”); Zarnes v. Rhodes, 64 F.3d 285, 291–92 (7th Cir. 1995) (no


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Constitutional violation for placing a pretrial detainee in administrative segregation for their

protection and that of other inmates without due process).

       An action taken against a pretrial detainee constitutes unlawful punishment only if it is (1)

motivated by intent to punish; (2) not reasonably related to a non-punitive purpose such as

maintaining security and order; or (3) an exaggerated response to that interest. Bell v. Wolfish 441

U.S. at 538; Rapier, 172 F.3d at 1005. In making this determination, courts should defer to the

expertise of prison officials unless it is clear that they have overreacted. Bell, 441 U.S. at 548.

       The Jail is obligated to maintain order and safety, and the Bell Court emphasized that

“maintaining institutional security and preserving order and discipline are essential goals” of a

correctional facility. Bell, 441 U.S. at 546-47. Indeed, the failure of Jail administration to take

preventative steps to ensure the safety of the facility could also give rise to suits against the Jail,

some even with merit. See Higgs v. Carver, 286 F.3d 437, 438 (7th Cir. 2002).

       Mr. McDougle’s allegations, even taken in the light most favorable to him, do not spell out

an actionable due process claim because no process is required when he was classified as an Ad-

Seg occupant for managerial reasons and not punishment. Bell v. Wolfish, 441 U.S. at 535–41. The

undisputed facts show that on July 29, 2021, the MCSO received information from the Milwaukee

Police Department that Mr. McDougle was wanted for a homicide that morning, that he threatened

to “kill a cop,” and that he was in the area of the Milwaukee County Jail. (PFOF ¶¶ 7, 8). As a

direct result of the reported threat, MCSO Lt. Brandy Lester sent emails to update MCSO

Courthouse and Jail command staff and administration warning them of the threat posed by Mr.

McDougle in case they encountered him. (PFOF ¶¶ 7-12). Lt. Joshua was part of the email

distribution list and, as a direct result of the communicated threat, instructed Classification Unit

CO Kelle Honzik to classify Mr. McDougle as an Ad-Seg occupant. (PFOF ¶ 19). Mr. McDougle



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was reviewed on weekly basis to determine whether he could be re-classified based only on his

ability to consistently display a pattern of behavior compliant with Jail rules and safety. (PFOF ¶¶

35, 38-40, 42, 43-46). Approximately thirty-Seven days after he was classified as an Ad-Seg

occupant, Cpt. Cunningham determined that Mr. McDougle could be removed from Ad-Seg

classification status and he was re-classified as a general population occupant. (PFOF ¶ 46).

        The evidence is clear that Lt. Joshua and Cpt. Cunningham used Administrative

confinement as a managerial classification tool, which it is, to manage a potential threat to the

safety of Jail staff and other occupants – a clear, non-punitive purpose. Higgs v. Carver, 286 F.3d

437, 438 (2002), citing Bell v. Wolfish, 441 U.S. 520, 535–41 (1979). Mr. McDougle was not

deprived of any substantive due process rights and the Defendants deserve summary judgment on

this issue.

        III.     Defendants are Entitled to Qualified Immunity

        Summary judgment is also appropriate because the Defendants are entitled to qualified

immunity. “To determine whether a defendant is entitled to qualified immunity, courts must

address (1) whether the defendant violated the plaintiff’s constitutional rights and (2) whether the

right at issue was clearly established at the time of the violation.” Stainback v. Dixon, 569 F.3d

767, 770 (7th Cir. 2009), citing Phelan v. Vill. of Lyons, 531 F.3d 484, 487 (7th Cir. 2008). The

doctrine of qualified immunity gives government officials “the benefit of legal doubts.” Rooni v.

Biser, 742 F.3d 737, 743 (quoting Elliott v. Thomas, 937 F.2d 338, 341 (7th Cir. 1991)). The

defense provides “ample room for mistaken judgments” and protects all but the “plainly

incompetent or those who knowingly violate the law.” Hunter v. Bryant, 502 U.S. 224, 229 (1991)

(quoting Malley v. Briggs, 475 U.S. 335, 341, 343 (1986))1.


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  Kingsley v. Hendrickson, 135 S. Ct. 2466, 2472 (2015) was not decided in 2015 at the time of the events alleged in
the Complaint.

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       Mr. McDougle cannot establish that the Defendants violated his Constitutional rights to

due process. This fact alone warrants dismissal of his claim. Yet, even if Mr. McDougle could

prove that his Constitutional rights were implicated (or even violated), he must present a “closely

analogous case that establishes that the Defendants' conduct was unconstitutional” or “evidence

that the Defendant's conduct was so patently violative of the constitutional right that reasonable

officials would know without guidance from a court” to defeat the qualified immunity defense.

Estate of Escobedo v. Bender, 600 F.3d 770, 780 (7th Cir. 2010) (citation omitted). He cannot do

so here where his time on Administrative Segregation was warranted and the MCSO’s legitimate

penological interests in classifying him as an Ad-Seg occupant are clear.

       IV.     Defendant Anthony Emanuele must be dismissed from Mr. McDougle’s
               Complaint.

       “The doctrine of respondeat superior does not apply to § 1983 actions; thus to be held

individually liable, a defendant must be ‘personally responsible for the deprivation of a

constitutional right.” Sanville v. McCaughtry, 266 F.3d 724, 740 (7th Cir. 2001) (citation omitted).

Without this showing, a supervisory official cannot be held liable. Wolf-Lillie v. Sonquist, 699 F.2d

864, 869 (7th Cir. 1983). Despite § 1983’s requirement to state a claim for individual liability,

there is no evidence that Lt. Emanuele was personally involved in the alleged deprivation of his

Constitutional rights. Thus, Lt. Emanuele must be dismissed from his suit. See Whitford v. Boglino,

63 F.3d 527, 530-31 (7th Cir. 1995).

       While Mr. McDougle’s Complaint alleges that Lt. Emanuele in some fashion to place him

“in Administrative Segregation without probable cause . . . ,” the evidence in this case is clear that

Lt. Emanuele was not even tangentially involved in Mr. McDougle’s classification status at any

time during the entirety of his confinement at the Jail, and he did not have any connection with the

decisions related to his Ad-Seg classification and assignment to Pods 4B or 4D. (PFOF ¶¶ 20). Lt.


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Emanuele, then, must be dismissed as having no causal connection or affirmative link to the

alleged misconduct. Sonquist, 699 F.2d at 869.



                                       CONCLUSION

       For the foregoing reasons, Defendants respectfully moves for summary judgment

dismissing Plaintiff’s complaint pursuant to Rule 56 of the Federal Rules of Civil Procedure and

Rule 56 of the Eastern District of Wisconsin’s Local Rules.


                             Dated at Milwaukee, Wisconsin this 6th day of October, 2023.


                                     MARGARET C. DAUN
                                     Milwaukee County Corporation Counsel


                             By:     s/ Nelson W. Phillips III
                                     NELSON W. PHILLIPS III
                                     Wisconsin Bar No. 1028189
                                     Assistant Corporation Counsel
                                     Attorney for Defendants Steven Haw, Pedro Ruiz, and Lance
                                     Olson


P.O. Mailing Address:
Milwaukee County Office of Corporation Counsel
901 North 9th Street, Room 303
Milwaukee, WI 53233
Telephone:    (414) 278-4300
Facsimile:    (414) 223-1249
Email:        nelson.phillips@milwaukeecountywi.gov




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